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  1   Aaron D. Aftergood (239853)
        aaron@aftergoodesq.com
  2   THE AFTERGOOD LAW FIRM
      1880 Century Park East, Suite 200
  3   Los Angeles, CA 90067
      Telephone: (310) 550-5221
  4   Facsimile: (310) 496-2840
  5   Taylor T. Smith (admitted pro hac vice)
        tsmith@woodrowpeluso.com
  6   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
  7   Denver, Colorado 80210
      Telephone: (720) 213-0675
  8   Facsimile: (303) 927-0809
  9   Attorneys for Plaintiff and the Classes
 10
                              UNITED STATES DISTRICT COURT
 11                          CENTRAL DISTRICT OF CALIFORNIA
 12
                                   WESTERN DIVISION

 13   Bryce Abbink, individually and on
 14   behalf of all others similarly situated,               Case No. 8:19-cv-01257-JFW-PJW

 15                                   Plaintiff,                [PROPOSED] ORDER
 16
                                                                GRANTING PLAINTIFF’S
      v.                                                        MOTION FOR ALTERNATIVE
 17                                                             SERVICE UPON LEND TECH
 18   Experian Information Solutions, Inc.,                     LOANS, INC.
      an Ohio corporation, Lend Tech
 19   Loans, Inc., a California corporation,                    Date: September 16, 2019
 20   and Unified Document Services, LLC,                       Time: 1:30 p.m.
      a California Limited Liability                            Judge: Hon. John F. Walter
 21   Company,                                                  Courtroom: 7A
 22                              Defendants.                    Complaint Filed: June 21, 2019

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             [Proposed] Order Granting Plaintiff’s Motion for Alternative Service upon Lend Tech Loans, Inc.
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  1           Having considered the moving papers and all other matters presented to the
  2   Court, the Court finds that Plaintiff’s Motion for Alternative Service upon Lend
  3   Tech Loans, Inc. should be granted, and hereby orders as follows:
  4      1.      The Motion is GRANTED.
  5      2.      Plaintiff shall serve the Complaint, Summons, and all other relevant
  6              initiating documents upon Lend Tech Loans, Inc. by hand delivering the
  7              documents to the California Secretary of State.
  8   IT IS SO ORDERED.
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      Date:
                                                        Hon. John F. Walter
 12                                                     United States District Judge
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              [Proposed] Order Granting Plaintiff’s Motion for Alternative Service upon Lend Tech Loans, Inc.
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